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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

               Plaintiff,

v.

DEBRA CAMPBELL,

           Defendant.
______________________________________________________________________

 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
                 AGAINST DEFENDANT DEBRA CAMPBELL
______________________________________________________________________

         THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture for a Personal Money Judgment against Defendant

Debra Campbell pursuant to Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure

(Doc. # 30). The Court having read said Motion and being fully advised in the premises

finds:

         On April 4, 2022, an Information was filed Defendant Debra Campbell in Counts

One and Two with violations of 18 U.S.C. § 1343 and 26 U.S.C. § 7206(1), respectively.

The Indictment also sought forfeiture in the form of a personal money judgment against

Defendant Debra Campbell, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §

2461(c), for the proceeds obtained by the defendant. (ECF Doc. 1).

         On May 27, 2022, the United States and Defendant Debra Campbell entered into

a Plea Agreement, which provided that defendant would plead guilty to Counts One and


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Two. It also contained a factual basis and cause to issue a personal money judgment

under 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and Rule 32.2(b) of the

Federal Rules of Criminal Procedure. (ECF Doc. 10).

             THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED THAT:

      •   $252,069.00 is subject to forfeiture as proceeds obtained by Defendant Debra

          Campbell through commission of the offense in Count One, to which he has

          pleaded guilty.

      •   a Preliminary Order of Forfeiture for a Personal Money Judgment against

          Defendant Debra Campbell in the amount of $252,069.00 shall be entered in

          accordance with 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). Pursuant

          to Federal Rule of Criminal Procedure 32.2(b)(4), this Forfeiture Money

          Judgment shall become final as to the defendant at the time of sentencing

          and shall be made part of the sentence and included in the judgment.

      •   this Preliminary Order of Forfeiture may be amended pursuant to the Federal

          Rules of Criminal Procedure, Rule 32.2(e)(1).

      DATED: November 7, 2022


                                 BY THE COURT:


                                 _________________________________
                                 CHRISTINE M. ARGUELLO
                                 Senior United States District Judge




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